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              IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DAVID AND DEBORAH CHILDS and
WHITNEY COLE,
                                            C.A. No. 2:21-cv-01100-CB
            Proposed Class Action
            Plaintiffs,                     Electronically Filed

     v.

WESTMORELAND SANITARY
LANDFILL LLC,

            Defendant.


           DEFENDANT’S MEMORANDUM OF LAW IN SUPPORT
          OF ITS MOTION TO DISMISS PLAINTIFFS’ COMPLAINT



                                 BUCHANAN INGERSOLL & ROONEY, P.C
                                 Stanley Yorsz PA ID #28979
                                 stanley.yorsz@bipc.com
                                 William J. Moorhead PA ID #52761
                                 william.moorhead@bipc.com
                                 Union Trust Building
                                 501 Grant Street, Suite 200
                                 Pittsburgh, PA 15219
                                 Phone 412-562-8800
                                 Fax 412-562-1040

           Attorneys for Defendant, Westmoreland Sanitary Landfill LLC

                               September 21, 2021




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                                     INTRODUCTION

       This is one of dozens of materially identical lawsuits that Plaintiffs’ counsel has

filed across the county alleging nuisance and negligence claims related to emissions. In

this case, the suit concerns operations at a municipal solid waste landfill (“MSWL”).

Defendant Westmoreland Sanitary Landfill LLC (“WSL”) owns and operates an MSWL

located in Belle Vernon, Pennsylvania. This is a highly regulated site subject to both

federal and State oversight and regular inspection by the Pennsylvania Department of

Environmental Protection (“PA DEP”). The Belle Vernon site participates in a voluntary

federal clean energy program with its own specifications and best practices, operates

consistent with consent orders and agreements with PA DEP, and invests heavily in

modern MSWL technology to ensure efficient, responsible collection practices and

regulatory compliance. Nevertheless, Plaintiffs—borrowing language from many other

complaints that their counsel have filed—allege generally that those practices are

negligent and create a public and private nuisance.

       Courts have drawn limits around these types of lawsuits. WSL thus does not seek

dismissal of this case in full. But in three respects, the Complaint fails to state a claim.

       First, Plaintiffs cannot state a claim for negligence in Count III. Having failed to

allege any cognizable physical harm to their property, Plaintiffs cannot, as a matter of

law, state a negligence-based claim for dimunition of property value or lost enjoyment.

The alleged damages here are based solely on claims of diminution of value from a

temporary, nonphysical, exterior condition that dissipates on its own and causes neither




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personal injury nor physical damage. Absent any allegation of physical property damage,

claims for diminution of value and lost enjoyment must be dismissed.

         Second, the Court should dismiss Plaintiffs’ request for punitive damages. The

Complaint lacks any allegation to suggest that WSL’s conduct was so outrageous as to

demonstrate willful, wanton or reckless behavior. Consistent with other decisions

addressing materially identical and conclusory allegations, this Court should dismiss the

prayer for relief to the extent Plaintiffs seek punitive damages.

         Third, the Court should also dismiss Plaintiffs’ sole request for injunctive relief.

Where regulatory agencies already are applying their discretion and technical expertise to

enforce compliance requirements, courts defer to the primary jurisdiction of those

agencies and refuse to permit claims for injunctive relief that could lead to conflicting

obligations. In this case, an injunction would supplant the detailed and complex plan that

PA DEP reviewed and approved for addressing the same violations alleged in this case.

         In each of these three respects, the Complaint fails as a matter of law and should

be dismissed.

           BACKGROUND AND ALLEGATIONS OF THE COMPLAINT

I.       WSL Operates Under Federal and State Regulation to Capture Greenhouse
         Gases for Productive Use

         The MSWL in Belle Vernon began operations in 1965 and, today, is one of the

relatively few sites of its kind that partners with the federal Environmental Protection

Agency (“EPA”) to generate green energy from naturally occurring landfill gas (“LFG”).1


     1
     The EPA provides a published database of all landfills that participate in this
program and identifies the date each opened. See Project and Landfill Data by State,


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As part of its voluntary participation in the EPA’s Landfill Methane Outreach program

(“LMOP”), WSL has implemented new technologies to capture, separate, and re-use

naturally occurring landfill gases at the Belle Vernon site. Using these systems, WSL is

able to recycle landfill gas into fuel for natural-gas powered vehicles and for use as

market-based credits that help other companies meet their own federal environmental

obligations. See generally Notice of Removal (ECF #1). Greenhouse gases are thus

captured prior to release into the atmosphere and recycled into clean, productive use. Id.

Through initiatives like the LMOP, the federal government achieves its goals of moving

“‘the United States toward greater energy independence and security,’” deploying

“‘greenhouse gas capture and storage options,’” and increasing “‘the production of clean

renewable fuels.’” Id. at 1 (quoting the Energy Independence and Security Act of 2007,

110 P.L. 140).

       Although in operation for over fifty years, the Belle Vernon site remains well

situated for an MSWL. As shown in the map provided below, the site is surrounded by

largely undeveloped rural land to the North, South and East and primarily commercial

and industrial use immediately to the West.2



https://www.epa.gov/lmop/project-and-landfill-data-state (last visited September 20,
2021). Of the 135 landfills in the Commonwealth of Pennsylvania, WSL is one of 37 that
participate in this program. The EPA data—as well as the other publicly available
agency documents described below—may be judicially noticed. See, e.g., Apotex Inc. v.
Acorda Therapeutics, Inc., 823 F.3d 51, 59-60 (2d Cir. 2016) (taking judicial notice of
publicly available agency records).
   2
     “[I]t is well-settled that courts… may take judicial notice of the map of a general
area and consider the location of events in rendering a decision.” United States v. Harris,
884 F. Supp. 2d 383, 395 (W.D. Pa. 2015); see also Cubano v. Sheehan, 146 A.3d 791,
795 (Pa. Super. Ct. 2016).


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       The Belle Vernon site also is subject to extensive regulatory oversight, inspection,

and monitoring. For decades, the U.S. government has overseen state and local

municipal solid waste landfills. In 1976, Congress enacted the Resource Conservation

and Recovery Act to address “problems of waste disposal” that had become “national in

scope and … necessitate[d] federal action,” and to help “develop alternative energy

sources … to reduce our dependence on such sources as petroleum products.” 42 U.S.C.

§ 6901(a)(4), (d)(2). Under RCRA, states must “adopt and implement a permit program”



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for solid waste disposal facilities that complies with federal regulations. Id. §

6945(c)(1)(A)-(B). States submit their proposed program for managing solid waste to the

EPA for federal approval. Id. § 6495(c)(1)(C).

       The EPA approved Pennsylvania’s program for permitting and monitoring

MSWLs in 1994. See 59 Fed. Reg. 29804. That program is found in the

Commonwealth’s Solid Waste Management (“SWMA”) and its implementing

regulations, which PA DEP has exclusive jurisdiction to administer and enforce. See 35

P.S. § 6018.101 et seq.; see also 25 Pa. Code Chapters 271, 283; Centolanza v. Lehigh

Valley Dairies, Inc., 635 A.2d 143, 149 (Pa. Super. Ct. 1993) (SWMA “does not provide

for a private cause of action” and “private persons may only intervene under the SWMA

in actions brought by” PA DEP), aff’d 658 A.2d 336 (Pa. 1995). WSL operates pursuant

to a Solid Waste Management permit that PA DEP issued and oversees. Pursuant to this

permit, PA DEP has access to the Belle Vernon site for regular inspections and to review

compliance with applicable federal and state regulation.

II.    WSL Has Implemented a PA DEP-Approved Plan to Ensure Proper
       Emissions

       PA DEP actively exercises its enforcement authority. And, where PA DEP finds

that operations at the Belle Vernon site could be improved, WSL and PA DEP work

together to address the matter appropriately. For instance, in October 2020, based on

three inspections from 2019 (July 31, August 28, and October 30) and ten inspections

from 2020 (January 24, February 13, April 24, May 14, June 3, June 15, July 7, July 21,

August 14, and September 24), WSL and PA DEP entered into a Consent Order and

Agreement (“COA”). See Oct. 7, 2020 Consent Order and Agreement, attached as Ex. A.


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Among other things, WSL agreed in the COA to “develop and submit to [PA DEP], for

its review and approval, a Corrective Action Plan to address” various operational

deficiencies that PA DEP had identified. Id. ¶ AB.3(e).

            WSL submitted its Corrective Action Plan on November 6, 2020, and—following

comments from PA DEP—provided additional information and proposed measures on

January 29, 2020. See Nov. 6, 2020 Corrective Action Plan, attached as Ex. B; Jan. 29,

2020 Form 14 Submittal, attached as Ex. C. Those measures included a fifteen-page

Odor Mitigation Plan with extensive provisions related to site improvements and

upgrades; leachate management system monitoring and maintenance; other best air

pollution control practices; odor and emission assessment; and complaint handling

procedures. See Ex. C at Attachment 14-4. On March 4, 2021, PA DEP approved both

WSL’s Odor Mitigation Plan and the Corrective Action Plan as a whole. See Mar. 4,

2021 Approval, attached as Ex. D.

III.        Plaintiffs’ Allegations

            Plaintiffs’ counsel has filed dozens of lawsuits alleging that the operation of an

MSWL or other industrial facility is negligent and constitutes a public nuisance. These

lawsuits track any publicly available regulatory reports for a particular facility and allege

that the plaintiffs’ “properties have been, and continue to be, physically invaded by

fugitive noxious odors emitted from [defendant’s site].” Complaint ¶ 12 (ECF #1-3).3


       3
      Compare, e.g., Complaint ¶ 53, Bell v. Cheswick Generating Station, No. 12-cv-929
(W.D. Pa.) (Bissoon, J.) (“Plaintiffs’ person and property are physically invaded by
particulates and air contaminants.”); Complaint ¶ 15, Ross v. USX Company, GD-17-
008663 (C.P. Allegheny) (“Plaintiff’s property has been and continues to be physically
invaded by noxious odors and air particulates.”); Complaint ¶ 7, Maroz v. Arcelormittal


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        This lawsuit is no different. Plaintiffs’ only factual allegations specific to WSL

are lifted from the COA and other PA DEP administrative documents. Compare id. ¶

25(b) with COA ¶¶ M-AA.4 Plaintiffs then allege that WSL’s highly regulated practices

for capturing and processing LFG violate Pennsylvania’s EPA-approved standards for

MSWLs and give rise to causes of action for private nuisance (Count I), public nuisance

(Count II), and negligence (Count III). Id. ¶¶ 47-79. Plaintiffs seek to assert these claims

on behalf of a class comprising the owners and inhabitants of approximately 4,200

separate residences within a 1.5 mile radius of the WSL facility. Id. ¶¶ 35, 37.

        Plaintiffs seek “injunctive relief not inconsistent with the Defendant’s state and

federal regulatory obligations,” as well as compensatory and punitive damages. Id.,

Prayer for Relief ¶¶ D, H. The alleged damages are limited to the purported diminution

of property values and the alleged loss of use and enjoyment. Id. ¶¶ 19-25, 27-29, 50, 52,

53, 63-66, 75, and 76. Plaintiffs make only conclusory statements of “physical property

damage” but provide no properly supported allegations of any physical harm to their

property. Id. ¶¶ 28, 53. Plaintiffs also make no particularized allegations that they, or

any members of the purported class, suffered personal injury or any damages to their

person.5 Id. ¶¶ 20, 23, 24, 28, 29, 31, 42, 53, 55, 65, 75, and 76.



Monessen LLC, No. 15-cv-0770 (W.D. Pa.) (“Plaintiffs’ property has been and continues
to be physically invaded by noxious odors and air particulates.”).
   4
      For this reason as well, the COA and related administrative documents are properly
before the Court. See In re Burlington Coat Factory Sec. Litig., 114 F.3d 1410, 1426 (3d
Cir. 1997) (district court can consider in resolving a motion to dismiss documents
“integral to or explicitly relied upon in the complaint”).
   5
    While Plaintiff David Childs mentions experiencing nausea in his description of the
impact alleged noxious odors may have had (Complaint ¶22), nowhere in Plaintiffs’


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                                  LEGAL STANDARD

         Fed. R. Civ. P. Rule 12(b)(6) calls for the dismissal of a complaint when it “fails

to state a claim upon which relief can be granted.” Rule 8(a) requires that allegation in

the complaint must be sufficient to “nudge … claims across the line from conceivable to

plausible.” Bell Atlantic v. Twombly, 550 U.S. 544, 570 (2007); Ashcroft v. Iqbal, 556

U.S. 662, 680 (2009). A plaintiff’s entitlement to relief “requires more than labels and

conclusions” or a mere “formulaic recitation of the elements” of a claim. Twombly, 550

U.S. at 555. The factual allegations of a complaint “must be enough to raise a right to

relief above the speculative level on the assumption that all the complaint’s allegations

are true.” Id. This high standard requires that a complaint contain “enough facts to state

a claim for relief that is plausible on its face.” Id at 570; see also Accord Santiago v.

Warminster Twp., 629 F. 3d 121, 128 (3rd Cir. 2010). While the Court must take as true

the factual allegations of the complaint, it must also “disregard legal conclusions and

‘recitals of the elements of a cause of action, supported by mere conclusory elements.’”

Santiago, 629 F.3d at 128; (citation omitted). A court cannot accept “bald assertions,

unwarranted inferences, or sweeping legal conclusions cast in the form of factual

allegations.” Cmty. Preschool & Nursery of E. Liberty, 2009 U.S. Dist. LEXIS 93209, at

*6 (W.D. Pa. Sept. 6, 2009) (citing In re Rockefeller Ctr. Props., Inc. Sec. Litig., 311

F.3d 198, 215 (3d Cir. 2002); Morse v. Lower Merion Sch. Dist., 132 F.3d 902, 906 n. 8

(3d Cir. 1997)); see also Iqbal, 556 U.S. at 663 (“the tenet that a court must accept a



Complaint do they specify that the scope of their damages include personal injury to
Plaintiffs or members of the putative class.


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complaint’s allegations as true is inapplicable to threadbare recitals of a cause of action’s

elements, supported by mere conclusory statements”).

                                       ARGUMENT

I.     Plaintiffs Fail To State A Claim For Negligence

       Plaintiffs’ negligence claim fails to plead essential elements under Third Circuit

precedent and Pennsylvania law. This is not a personal injury case. Throughout the

Complaint, Plaintiffs narrowly limit their alleged damages to the diminution of property

value and the loss of enjoyment and use of their property. See Complaint ¶¶ 20, 23, 24,

28, 29, 31, 42, 53, 55, 65, 75, and 76. But to state such a claim, Plaintiffs must

sufficiently allege physical property damage. They do not.

       The Third Circuit permits a claim for diminution of property value only “where

there has been some initial physical damage to plaintiffs’ land.” In re Paoli Railroad

Yard PCB Litigation, 35 F.3d 717, 798 n.64 (3d Cir. 1994) (“Paoli II”); see also In re

Paoli R.R. Yard PCB Litig., 113 F.3d 444, 463 (3d Cir. 1997) (“Paoli III”) (“Paoli II

specifically requires proof of some real physical damage to plaintiffs’ land, some damage

that ‘exists in fact.’”). In Paoli II, plaintiffs sought recovery for allegedly diminished

property value on the grounds that negligent operation of a railyard caused exposure to

dangerous chemicals. Id. at 732-34. Applying Pennsylvania law, the Third Circuit, held

that such a claim requires both that defendant caused “physical damage to plaintiffs’

property” and that “repair of this damage will not restore the value of the property to its

prior level.” Id. at 798. This requirement was important to preventing “thousands of




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insubstantial and peripheral claims…. The rule we have articulated only allows recovery

when there has been some initial physical damage to plaintiffs’ land.” Id. at 798 n. 64.

          Following this decision, the Third Circuit opined in Baptiste v. Bethlehem Landfill

Co. that when a negligence claim relies on a nuisance claim as its fundation it must

include allegations of physical property damage to survive. See 965 F.3d 214, 228 n.10

(3d Cir. 2020). In Baptiste, the Appeals Court took particular effort to emphasize the

importance of the physical damage requirement for this type of negligence claim stating

that “it is not difficult to conceive how the presence of hazardous particulates in the air

could constitute physical property damage if these pollutants infiltrate physical

structures.” Id. (emphasis added). Further analysis by the Appeals Court included

particularized references to examples of contaminant infiltration that could cause the

physical damage necessary to sustain a negligence claim including seepage into

groundwater and particulates in the air infiltrating the interior of physical structures. See

id. In the Baptiste decision, the Third Circuit enumerated these two examples to show

that an allegation of physical infiltration could serve as a vehicle to allege the physical

property damage required to sustain a negligence claim based on diminution of value.

See id.

          This rule has barred negligence claims in cases virtually identical to this one. See

Lloyd v. Covanta Plymouth Renewable Energy, LLC, 2021 U.S. Dist. LEXIS 20353 (E.D.

Pa. Feb. 3, 2021). Like Plaintiffs here, the plaintiff in Lloyd—represented by the same

counsel—alleged negligence on the grounds that “defendant’s operation of a waste-to-

energy processing facility … emits noxious odors that invade her and other nearby



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residents’ properties,” id. at *1, and that these emissions caused “the loss of the use and

enjoyment of her property as well as the diminution in its value,” id. at *3. The court

dismissed the negligence claim. Paoli II and the Third Circuit’s subsequent decision in

Baptiste require “that the damage to plaintiff’s property must in some way be physical for

it to constitute property damage when pleading a claim for negligence.” Lloyd, 2021 U.S.

Dist. LEXIS 20353, at *7. Without that allegation, plaintiff could not state a negligence

claim for either diminution of property value or loss of enjoyment. Id. at *7-9; see also

Menkes v. 3M Co., 2018 U.S. Dist. LEXIS 84574, at *23 (E.D. Pa. May 21, 2018)

(dismissing claims for diminished value and “annoyance” because “property damages

require physical damage to property” and plaintiffs “have not alleged physical damage to

their real property”).

        Here, Plaintiffs have made no allegation of physical damage to their homes.

Furthermore, throughout the Complaint, Plaintiffs plead that the allegedly offensive odors

are only detectable outside and do not permeate inside the walls of their home. See

Complaint ¶¶ 23, 24, and 50. An application of the Third Circuit’s Baptiste theory of

property infiltration serving as a vehicle for an allegation of physical property damages

fails in this Complaint because Plaintiffs concede that the alleged offensive odors do not

enter homes and can be avoided by staying inside. See id. ¶50. Plaintiffs do not allege

even temporary physical or any invasion of alleged noxious odors into their homes.

Necessarily, they also fail to allege that “repair of this damage will not restore the value

of the property to its prior level.” Paoli II, 35 F.3d at 798. That precludes their claims




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for both diminution of value and lost enjoyment, and the negligence count fails as a

matter of law. See id.; see also Lloyd, 2021 U.S. Dist. LEXIS 20353, at *7-9.

          It is significant to note that the Plaintiffs do not include damages related to

personal injury as the basis for any of their claims. While Plaintiffs allege that David

Childs “experienced nausea from the odor”, this allegation is nowhere made a basis for a

personal injury claim. Complaint at ¶ 22. Throughout the Complaint, Plaintiffs

narrowly limit their damages to the diminution of property value and/or the loss of

enjoyment and use of their property, with no mention of injury to persons of any kind.

Id. at ¶¶ 20, 23, 24, 28, 29, 31, 42, 53, 55, 65, 75, and 76. Plaintiffs’ decision to exclude

personal injury damages from the numerous declarations of damages contained in their

Complaint indicates that such damages are not intended to underlie their claims in this

matter.

II.       Plaintiffs Have Failed To Allege Any Outrageous Conduct And Their
          Request For Punitive Damages Should Be Dismissed

          Plaintiffs have failed to plead that WSL was engaged in outrageous conduct, and

therefore, Plaintiffs’ prayer for punitive damages should be dismissed. Under

Pennsylvania law, punitive damages are available “only in cases where the defendant’s

actions are so outrageous as to demonstrate willful, wanton or reckless conduct.”

Hutchinson v. Luddy, 870 A.2d 766, 770 (Pa. 2005). Punitive damages are an “‘extreme

remedy’ available in only the most exceptional matters.” Phillips v. Cricket Lighters, 883

A.2d 439, 445 (Pa. 2005). Absent allegations of facts that, if proven, would meet this

high standard, a conclusory claim for punitive damages fails as a matter of law. Boring v.

Google Inc., 362 F. App’x 273, 283 (3d Cir. 2010) (affirming dismissal of punitive


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damages claim where the complaint failed to allege “facts suggesting that [the defendant]

acted maliciously or recklessly or … intentionally disregarded the [plaintiffs’] rights”).

       Courts routinely dismiss requests for punitive damages on this basis. See, e.g.,

Andrews v. Fullington Trailways, LLC, 2016 U.S. Dist. LEXIS 88651, at *31-32 (W.D.

Pa. July 8, 2016) (citing cases). A rote recital of intent or knowledge, merely

characterized in the pleadings as “reckless” or “wanton” is insufficient to survive a

motion to dismiss. Maroz v. Arcelormittal Monessen LLC, No. 15-cv-0770, 2015 WL

6070172, at *7 (W.D. Pa. Oct. 15, 2015) (dismissing request for punitive damages);

Russell v. Chesapeake Appalachia, L.L.C., No. 14-cv-00148, 2014 WL 6634892, at *2

(M.D. Pa. Nov. 21, 2014) (dismissing punitive damages claim for failure to plead facts

that “meet the high standard for ‘evil motive’ or ‘reckless indifference’ necessary to

impose punitive damages in Pennsylvania”) (internal citation omitted).

       Maroz is on point with this case. There, plaintiffs (represented by the same

counsel representing Plaintiffs in this case) allegedly were “injured by ‘noxious odors and

air particulates[,]’ which entered [their] properties due to” the defendant’s negligent

operation of a coke plant in Monessen, Pennsylvania—a coke plant that is about one mile

from Plaintiff Childs’ residence and within the area at issue in this case. Id. ¶ 5. The

facts alleged in Maroz included that the defendant “has been cited by [PA DEP] six times

since [2014] with Notices of Violation for illegal-air emissions”; that “the PA DEP has

received ‘numerous complaints’ from ‘surrounding residents’ about ‘noxious odors and

air particulates [entering] onto their properties’”; that the “noxious odor was described by

one complainant as ‘bad … like rotten eggs’”; and that defendant’s “alleged failure to



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‘install and maintain adequate technology’ to properly control the Monessen facility’s

emissions, have enabled noxious odors and air particulates to invade Plaintiffs’

properties, which in turn, has interfered with Plaintiffs’ use and enjoyment of their

properties.” Id. The court held that the claims of regulatory violations and neighborhood

complaints fell “woefully short of alleging” a claim for punitive damages. Id. at *15.

Merely alleging that a facility has been the subject of frequent complaints, processes a

large volume of material, and its owner is aware of its emissions is not sufficient to

support a claim for punitive damages. Id.

       Here, Plaintiffs have not alleged sufficient facts to support the premise that

WSL’s actions were so outrageous as to demonstrate willful, wanton, or reckless conduct.

Plaintiffs’ allegations of three complaints allegedly made to PA DEP, anecdotal

allegations about alleged odors and their impacts, and references to alleged PA DEP

investigations are insufficient to meet the high standard necessary for punitive damages.

See Complaint ¶¶ 24, 25, and 32. These allegations are identical to those made by the

plaintiffs in Maroz and are equally deficient as a matter of law.

       Outside of the allegtions contained in paragraphs 24, 25, and 32 Plaintiffs have

alleged no other factual basis to support their request. The remainder of the Complaint

contains of nothing more than threadbare recitations of the foundational elements for

punitive damages. See Complaint ¶¶ 33, 78, 79. The mere “formulaic recitation of the

elements” is insufficient to overcome the pleading requirements of Rule 8(a). Twombly,

550 U.S. at 555. Nowhere in the Complaint do Plaintiffs allege any facts that can

plausibly suggest that WSL or any of its agents acted with the evil motive or reckless



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indifference that is required to support a claim for punitive damages. Absent allegations

of any kind to support these threadbare assertions, Plaintiffs’ prayer for punitive damages

should be dismissed.

III.    Plaintiffs Are Not Entitled To Injunctive Relief Where Such Relief
        Contradicts The Primary Jurisdiction Of Agencies With Statutory Authority

        The Court should also dismiss the only request for injunctive relief that Plaintiffs

allege, relief “not inconsistent with the Defendant’s state and federal regulatory

obligations.” Complaint, Prayer for Relief ¶ H. Prospective relief from this Court aimed

at abetting the alleged nuisance would be contrary to the primary jurisdiction that PA

DEP and the Pennsylvania Environmental Hearing Board (“PA EHB”) are already

exercising to monitor the Belle Vernon site. “A motion to dismiss based upon … primary

jurisdiction grounds may be decided under Rule 12(b)(1)” and “the court may consider

materials outside the pleadings in deciding whether to dismiss on these grounds without

converting the motion into one for summary judgment.” Sierra Club v. Chesapeake

Operating, LLC, 248 F. Supp. 3d 1194, 1199 (W.D. Okla. 2017).

        Primary jurisdiction “comes into play whenever enforcement of the claims

requires the resolution of issues which, under a regulatory scheme, have been placed

within the special competence of an administrative body.” Baykeeper v. NL Industries,

Inc., 660 F. 3d 686, 691 (3rd Cir. 2011); (quoting United States v. W. Pac. R.R. Co., 352

U.S. 59, 64 (1956)). Courts look to a four factor analysis to determine if primary

jurisdiction is appropriate:

               (1) Whether the question at issue is within the conventional
               experience of judges or whether it involves technical or
               policy considerations within the agency’s particular field of


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               expertise; (2) Whether the question at issue is particularly
               within the agency’s discretion; (3) Whether there exists a
               substantial danger of inconsistent rulings; and (4) Whether
               a prior application to the agency has been made.

Id.; (citing Global Naps, Inc. v. Bell Atl.–N.J., 287 F. Supp. 2d 532, 549 (D.N.J. 2003)).

While this Court may be well suited for adjudicating Plaintiffs’ claim for damages in this

case, directing the methods by which to comply with the various regulations should be

left to the responsible state and federal agencies. See, e.g., Sierra Club, 248 F. Supp. 3d

at 1208 (“The doctrine of primary jurisdiction is more readily applicable if injunctive

relief, requiring scientific or technical expertise, is requested.”); cf. April 6, 2016 Mem.

Op. and Order, Ross v. USX Company, G.D. l7-00-8663 (C.P. Allegheny) (Colville, J.)

(in another case filed by Plaintiffs’ counsel, dismissing at the pleading stage the same

generic request for injunctive relief because such relief “would interfere with the Clean

Air Act as implemented by the Allegheny County Health Department through [a]

Consent Judgment” with the defendant); see also Collins v. Olin Corp., 418 F. Supp. 2d

34, 42-47 (D. Conn. 2006) (dismissing claim for injunctive relief in light of the

defendant’s agency consent order); City of Bethany v. Rockwell Automation, Inc., 2017

U.S. Dist. LEXIS 139722 (W.D. Okla. Aug. 30, 2017) (same).

       The federal EPA and the Pennsylvania General Assembly authorized the PA DEP

and PA EHB to oversee the management of solid wastes, including the authority to abate

nuisances. 71 P.S. § 510-17; see also 35 P.S. § 6018, et seq.; 59 Fed. Reg. 29804 (federal

approval of Pennsylvania’s municipal solid waste program). This authority includes the

power to investigate, issue enforcement orders, modify or even revoke permits, levy

fines, and/or institute legal action to enjoin or restrain violations of the Solid Waste


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Management Act. See 35 P.S. §§ 6018.104, 6018.601-.606, 6018.613. PA DEP also has

the specific authority to “protect the people of the Commonwealth from nuisances.” 71

P.S. § 510-17.

        The regulatory requirements to which WSL is subject here are wide ranging and

diverse; they include specification of the types and volumes of refuse that can be

accepted and processed, technical operation plans and procedures, and the interplay of

federal EPA requirements as they relate to the capture and processing of landfill gases for

alternative energy usage. See generally 25 Pa. Code Chapters 271, 273 et seq. These

issues contemplate technical and policy considerations that fall squarely within the

expertise of these agencies, and which these agencies are in the process of overseeing.

        The prospective remedies that PA DEP has already approved with respect to the

Belle Vernon site illustrate the point. WSL’s Odor Mitigation Plan comprehensively

addresses myriad facets of MSWL operations and regulations. The general purpose of

the Plan is to:

                  describe[] management procedures for operating activities,
                  cover practices, environmental site control equipment and
                  control technologies (i.e. LFG flares, leachate pumps, etc.)
                  that may be used to minimize odors; monitoring procedures
                  for the timely identification of potential odor-producing
                  sources; and corrective actions to be taken in response to
                  odors identified both on and off-site.

Ex. C at Attachment 14-4 § 2.0. The Plan then delves into detailed and technical

specifics regarding the timing and nature of site improvements and upgrades to WSL’s

gas collection and control system (“GCCS”), id. § 3.0; odor/emission assessments and

monitoring, id. § 4.0; complaint handling procedures, id. § 5.0; corrective action



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procedures where potential odor emission sources are identified, id. § 6.0; surveying and

reporting procedures, id. § 7.0; best air pollution control practices, id. § 8.0; and annual

projections of construction requirements related to odor and emission control, id. § 9.0.

The Plan covers matters like piping networks; the evaluation of leachate management

systems; closure construction; the installation of extraction wells; the timing for landfill

gas extraction in certain areas based on waste grade; what parameters to measure when

operating LFG flares; LFG condensate generation; and landfill cover integrity. WSL

developed this plan with consultation and comments from PA DEP, and that agency

approved the plan specifically to address the same alleged violations that Plaintiffs claim

in this case. Compare Complaint ¶ 25(b) with Ex. A ¶¶ M-AA. PA DEP also reserved

the right to enforce the terms of the Odor Mitigation Plan or to seek additional measures.

Ex. A ¶¶ AB.6 – AB.7

       Primary jurisdiction respects the expertise and judgment of regulatory agencies by

not second-guessing or supplanting their judgment with additional or different court-

ordered relief. That is what Plaintiffs are asking this Court to do in their request for

“injunctive relief not inconsistent with the Defendant’s state and federal regulatory

obligations.” Complaint, Prayer for Relief ¶ H. WSL has already entered into (and is

following) a PA DEP-approved plan that ensures regulatory compliance at the Belle

Vernon site. It would create a substantial risk of conflicting orders were this Court to

also assume the duty of overseeing WSL’s efforts in the form of a prospective injunctive

remedy—and the contempt powers that come along with that. Determining the most

effective method of ensuring compliance with the permits and regulations is an issue that



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is obviously and particularly within PA DEP’s expertise, and Plaintiffs’ prayer for

different injunctive relief from this Court should be dismissed. See Collins, 418 F. Supp.

2d at 42-47; City of Bethany, 2017 U.S. Dist. LEXIS 139722, at *10-15.

                                      CONCLUSION

       For all the reasons noted above, WSL respectfully requests that this Honorable

Court issue an order dismissing with prejudice Plaintiffs’ claim for negligence (Count

III), Plaintiffs’ demand for punitive damages, and Plaintiffs’ request for injunctive relief.



Dated: September 21, 2021                      Respectfully submitted,

                                                /s/ Stanley Yorsz
                                               Stanley Yorsz
                                               PA ID #28979
                                               stanley.yorsz@bipc.com
                                               William J. Moorhead
                                               PA ID #52761
                                               william.moorhead@bipc.com
                                               BUCHANAN INGERSOLL & ROONEY, P.C.
                                               Union Trust Building
                                               501 Grant Street, Suite 200
                                               Pittsburgh, PA 15219
                                               Phone 412-562-8800
                                               Fax 412-562-1040

                                               Attorneys for Defendant, Westmoreland Sanitary
                                               Landfill LLC




                             CERTIFICATE OF SERVICE


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       I hereby certify that on September 21, 2021, I electronically filed a true and

complete copy of the foregoing document with the Clerk of the Court using the CM/ECF

system, which will then send a notification of such filing to the counsel of record.


                                              BUCHANAN INGERSOLL & ROONEY
                                              PC

                                              By: /s/ Stanley Yorsz
                                                      Stanley Yorsz




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